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      5    Attorney for Debtors: Virginia Reyes

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      8                                UNITED STATES BANKRUPTCY COURT

      9                                 EASTERN DISTRICT OF CALIFORNIA

     10    In re:                                              Case No.  2−11858−B−7
                                                               DCN:      EML-1
     11    VIRGINIA REYES                                      Chapter   7
                                                               NOTICE OF HEARING ON MOTION
     12             Debtor                                     TO REDEEM PERSONAL
                                                               PROPERTY
     13
                                                               Date:      July 14, 2020
     14                                                        Time:      1:30 PM
                                                               Judge:     Hon. René Lastretto II
     15                                                        Place:     2500 Tulare St, Ctrm 13, 5th Fl.
                                                                          Fresno, CA 93721
     16

     17             TO SECURED CREDITOR ONEMAIN FINANCIAL GROUP, LLC, THE
     18    CHAPTER 7 TRUSTEE, THE UNITED STATES TRUSTEE, ALL INTERESTED
     19    PARTIES, AND THEIR ATTORNEYS OF RECORD:
     20             At the above date, time and place, Debtor Virginia Reyes will move the Court for an
     21    order allowing Debtor to redeem personal property pursuant to 11 U.S.C. § 722 and Bankruptcy
     22    Rule 6008 from Respondent OneMain Financial Group, LLC.
     23             Pursuant to Local Rule 9014-1(f)(1)(B), Any opposition to confirmation must be filed
     24    and served fourteen (14) days prior to the above hearing date. Failure to file timely written
     25    opposition may result in the motion being resolved without oral argument. Respondents can
     26    determine whether the matter has been resolved without oral argument or whether the court has
     27    issued a tentative ruling, and can view any pre-hearing dispositions by checking the Court’s
     28    website at www.caeb.uscourts.gov after 4:00 P.M. the day before the hearing.

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      1           Parties appearing telephonically must view the pre-hearing dispositions prior to the

      2    hearing.

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      4    Dated: June 13, 2020                                /s/Evan Livingstone
                                                               Evan Livingstone
      5                                                        Attorney for Debtor

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